          Case 1:19-cr-00018-ABJ Document 88 Filed 04/24/19 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )               Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)



                                            ORDER

       Upon consideration of defendant Roger J. Stone, Jr.’s Unopposed Motion for Permission

to Travel [Dkt. # 87], the motion is GRANTED.

       It is ORDERED that defendant may travel to Sarasota, Florida, from May 13, 2019 to

May 14, 2019 and to Naples, Florida, from May 22, 2019 to May 23, 2019. Defendant shall

provide Pretrial Services with a copy of this Order and his complete itinerary for each trip prior

to his departure from the Southern District of Florida. Defendant may not travel to any locations

aside from those set out above. Defendant must contact Pretrial Services within the first

business day by telephone upon his return from each trip.

       SO ORDERED.




                                             AMY BERMAN JACKSON
                                             United States District Judge

DATE: April 24, 2019
